          Case: 21-17016, 03/31/2023, ID: 12686364, DktEntry: 53, Page 1 of 1




                        UNITED STATES COURT OF APPEALS                    FILED
                                 FOR THE NINTH CIRCUIT                      MAR 31 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
In re: PACIFIC FERTILITY CENTER                  No.   21-17016
LITIGATION,
                                                 D.C. No. 3:18-cv-01586-JSC
------------------------------                   Northern District of California,
                                                 San Francisco
A. B.; C. D.; E. F.; G. H.; I. J.,
                                                 ORDER
                   Plaintiffs-Appellees,

  v.

CHART, INC.,

                   Defendant-Appellant.

       The parties’ joint motion to voluntarily dismiss the appeal (Dkt. No. 52) is

granted. See Fed. R. App. P. 42(b). This order constitutes the mandate of this court.




                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT


                                                  By: Wendy Lam
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
